Case 6:22-cv-00885-RRS-CBW Document 10-3 Filed 04/14/22 Page 1 of 10 PageID #: 263




                            Exhibit C
Case 6:22-cv-00885-RRS-CBW Document 10-3 Filed 04/14/22 Page 2 of 10 PageID #: 264
Case 6:22-cv-00885-RRS-CBW Document 10-3 Filed 04/14/22 Page 3 of 10 PageID #: 265
Case 6:22-cv-00885-RRS-CBW Document 10-3 Filed 04/14/22 Page 4 of 10 PageID #: 266
Case 6:22-cv-00885-RRS-CBW Document 10-3 Filed 04/14/22 Page 5 of 10 PageID #: 267
Case 6:22-cv-00885-RRS-CBW Document 10-3 Filed 04/14/22 Page 6 of 10 PageID #: 268
Case 6:22-cv-00885-RRS-CBW Document 10-3 Filed 04/14/22 Page 7 of 10 PageID #: 269
Case 6:22-cv-00885-RRS-CBW Document 10-3 Filed 04/14/22 Page 8 of 10 PageID #: 270
      Case 6:22-cv-00885-RRS-CBW Document 10-3 Filed 04/14/22 Page 9 of 10 PageID #: 271




                                Signature for the Department of Homeland Security

    DEPARTMENT OF HOMELAND SECURITY



    Kenneth T. Cuccinelli II                    Date
    Senior Official Performing the Duties of the Deputy Secretary
    Signed individually and collectively2




2

both (1) for itself, independently, and (2) along with the other entities that comprise DHS, collectively. Should
one agency, for whatever reason, cease to be a party to this Agreement, this Agreement shall still survive for all
other parties and be read and interpreted as if the removed party had never been a party to this Agreement.
                                                    Page 8 of 9
Case 6:22-cv-00885-RRS-CBW Document 10-3 Filed 04/14/22 Page 10 of 10 PageID #: 272
